     Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 1 of 7
                                                               United States Courts
                                                             Southern District of Texas
                                                                      FILED
 3:18mj0310                                                        May 18, 2018
                                                                           
                                                           David J. Bradley, Clerk of Court
Northern District of Texas                               4:18mj0820
Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 2 of 7
Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 3 of 7
Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 4 of 7
Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 5 of 7
Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 6 of 7
Case 4:18-mj-00820 Document 1 Filed in TXSD on 05/18/18 Page 7 of 7
